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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
 _________________________________
 VISION INDUSTRIES GROUP, INC.,

                                Plaintiff,    Case No. 2:18-cv-6296 (ES) (CLW)

               -- against –

 AC U PLAS MOLD, INC .,             ABC          DEFENDANT ACU PLASMOLD,
 COMPANIES 1-10 and                 XYZ         INC.’S RESPONSE FIRST SET OF
 CORPORATIONS 1-10,                           REQUESTS FOR ADMISSIONS

                            Defendants
 ________________________________


 TO:   Evelyn A. Donegan, Esq.
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                     RESPONSE TO REQUEST FOR ADMISSIONS

 1.    ACU Hardware USA has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2015.

       DENIED


 2.    ACU Hardware USA has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2016.

       DENIED


 3.    ACU Hardware USA has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2017.

       DENIED


 4.    ACU Hardware USA has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2018.

       DENIED


 5.    ACU Hardware USA has sold casement products in the United States to customers other than
       I.W.C. after October 1, 2019.

       DENIED


 6.    ACU Hardware USA has sold non-casement products in the United States to customers other
       than I.W.C. after November 10, 2015.

       ADMITTED


 7.    ACU Hardware USA has sold non-casement products in the United States to customers other
       than I.W.C. after November 10, 2016.

       ADMITTED
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 8.    ACU Hardware USA has sold non-casement products in the United States to customers other
       than I.W.C. after November 10, 2017.

       ADMITTED


 9.    ACU Hardware USA has sold non-casement products in the United States to customers other
       than I.W.C. after November 10, 2018.

       ADMITTED


 10.   ACU Hardware USA has sold non-casement products in the United States to customers other
       than I.W.C. after October 1, 2019.

       ADMITTED


 11.   ACU Plasmold has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2015.

       DENIED


 12.   ACU Plasmold has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2016.

       DENIED


 13.   ACU Plasmold has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2017.

       DENIED


 14.   ACU Plasmold has sold casement products in the United States to customers other than
       I.W.C. after November 10, 2018.

       DENIED
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 15.   ACU Plasmold has sold casement products in the United States to customers other than
       I.W.C. after October 1, 2019.

       DENIED


 16.   ACU Plasmold has sold non-casement products in the United States to customers other than
       I.W.C. after November 10, 2015.

       ADMITTED


 17.   ACU Plasmold has sold non-casement products in the United States to customers other than
       I.W.C. after November 10, 2016.

       ADMITTED

 18.   ACU Plasmold has sold non-casement products in the United States to customers other than
       I.W.C. after November 10, 2017.

       ADMITTED


 19.   ACU Plasmold has sold non-casement products in the United States to customers other than
       I.W.C. after November 10, 2018.

       ADMITTED


 20.   ACU Plasmold has sold non-casement products in the United States to customers other than
       I.W.C. after October 1, 2019.

       ADMITTED


 21.   Alvin Zhou is the 70% owner of ACU Hardware USA.

       ADMITTED


 22.   John Quach is the 30% owner of ACU Hardware USA.

       ADMITTED
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 23.   John Quach and Alvin Zhou were the only owners of ACU Hardware USA in November,
       2015.

       ADMITTED


 24.   Alvin Zhuo is the 100% owner of ACU Plasmold’s China factory.

       ADMITTED


 25.   Alvin Zhuo and Wu Ping Ling [wife] were the only owners of ACU Plasmold Canada, in
       November 2015.

       ADMITTED


 26.   Alvin Zhuo and Wu Ling Ping are the only owners of ACU Plasmold Canada.

       ADMITTED


 27.   Alvin Zhuo regular communicates in English via e-mail.

       ADMITTED


 28.   Alvin Zhuo regular communicates in person and by telephone in English.

       ADMITTED


 29.   After November 10, 2015, ACU Plasmold charged one of its customers a lower price than
       the priced charged to Vision Industries Group, Inc., for [hardware part] Elite 1 Right hand.

       DENIED


 30.   After November 10, 2015, ACU Plasmold charged one of its customers a lower price than
       the price charged to Vision Industries Group, Inc., for Elite 1 Left hand.

       DENIED
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 31.   After November 10, 2015, ACU Plasmold charged one of its customers a lower price than
       the price charged to Vision Industries Group, Inc., for FH-.3BC-78.

       DENIED


 32.   ACU Plasmold Canada charged one of its customers a lower price than the priced charged
       to Vision Industries Group, Inc., for FH-03A C-78.

       DENIED


 33.   Delivery and freight charges for imports from China into Canada is approximately 14% of
       the FOB China cost.

       DENIED


 34.   ACU Plasmold’s factory in China charged Vision Industries Group more than it charged
       other US customers for the same products purchased by Vision Industries Group.

       DENIED


 35.   ACU Plasmold’s factory in China charged Vision Industries Group more than it charged
       customers in Canada for the same products purchased by Vision Industries Group.

       DENIED


 36.   ACU Plasmold sold casement products in 2015 to Mennie Canada at a price lower than the
       price charged to Vision Industries Group, Inc.


       DENIED




 37.   ACU Plasmold sold casement products in 2016 to Mennie Canada at a price lower than the
       price charged to Vision Industries Group, Inc.
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       DENIED


 38.   ACU Plasmold sold casement products in 2017 to Mennie Canada at a price lower than the
       price charged to Vision Industries Group, Inc.

       DENIED


 39.   ACU Plasmold sold casement products in 2018 to Mennie Canada at a price lower than the
       price charged to Vision Industries Group, Inc.

       DENIED


 40.   ACU Plasmold sold casement products in 2019 to Mennie Canada at a price lower than the
       price charged to Vision Industries Group, Inc.

       DENIED


 41.   ACU Plasmold sold non-casement products in 2015 to Mennie Canada at a price lower than
       the price charged to Vision Industries Group, Inc.

       DENIED


 42.   ACU Plasmold sold non-casement products in 2016 to Mennie Canada at a price lower than
       the price charged to Vision Industries Group, Inc.

       DENIED


 43.   ACU Plasmold sold non-casement products in 2017to Mennie Canada at a price lower than
       the price charged to Vision Industries Group, Inc.

       DENIED




 44.   ACU Plasmold sold non-casement products in 2018 to Mennie Canada at a price lower than
       the price charged to Vision Industries Group, Inc.
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          DENIED

 45.      ACU Plasmold sold non-casement products in 2019 to Mennie Canada at a price lower than
          the price charged to Vision Industries Group, Inc.

          DENIED




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 Dated:
